                                  Case 23-13532-RAM      Doc 56-2       Filed 03/08/24       Page 1 of 4
Label Matrix for local noticing               BMW Bank of North America, c/o AIS Portfolio     NewRez LLC d/b/a Shellpoint Mortgage Servici
113C-1                                        4515 N Santa Fe Ave. Dept. APS                   Diaz Anselmo & Associates, P.A.
Case 23-13532-RAM                             Oklahoma City, OK 73118-7901                     P.O. BOX 19519
Southern District of Florida                                                                   Fort Lauderdale, FL 33318-0519
Miami
Thu May 18 13:57:38 EDT 2023
AXFCCB                                        Advance Cash                                     American Web Loan
POB 36454                                     POB 10                                           112 Paradise Dr
Cincinnati, OH 45236-0454                     Parshall, ND 58770-0010                          Red Rock, OK 74651-2203



American Web Loan                             Ascend Loans, LLC                                Avant LLC
522 N. 14th Street                            635 East Highway 20, U                           Attn: Bankruptcy
POB 130                                       Upper Lake, CA 95485                             Po Box 9183380
Ponca City, OK 74601-4654                                                                      Chicago, IL 60691-3380


Avant, LLC                                    Bank of America                                  Best Egg
Po Box 9183380                                Attn: Bankruptcy                                 1523 Concord Pike
Chicago, IL 60691-3380                        4909 Savarese Circle                             Suite 201
                                              Tampa, FL 33634-2413                             Wilmington, DE 19803-3656


(p)BMW FINANCIAL SERVICES                     Bright Lending                                   CC Connect Des Credit
CUSTOMER SERVICE CENTER                       POB 578                                          8601 Dunwoody Place
PO BOX 3608                                   Hays, MT 59527-0578                              Ste 406
DUBLIN OH 43016-0306                                                                           Atlanta, GA 30350-2550


CC Flow                                       Caliber Home Loans                               Capital Community Bank
1000 N West Street Suite 1200                 Attn: Bankruptcy                                 Attn: Bankruptcy
Wilmington, DE 19801-1058                     P.O. Box 24610                                   3280 N University Ave
                                              Oklahoma City, OK 73124-0610                     Provo, UT 84604-4405


Capital One                                   Ccb/Balance                                      Check ’n Go
Attn: Bankruptcy                              33 North Lasalle St                              Attn: Bankruptcy
Po Box 30285                                  Chicago, IL 60602-2603                           Po Box 14283
Salt Lake City, UT 84130-0285                                                                  Cincinnati, OH 45250-0283


Citi Card/Best Buy                            Citibank                                         (p)U S ATTORNEY’S OFFICE
Attn: Citicorp Cr Srvs Centralized Bankr      Citicorp Cr Srvs/Centralized Bankruptcy          99 NE 4TH STREET SUITE 300
Po Box 790040                                 Po Box 790040                                    MIAMI FL 33132-2131
St Louis, MO 63179-0040                       St Louis, MO 63179-0040


Comenity Bank/Victoria Secret                 Comenity Capital                                 Country Walk Master Association, Inc.
Attn: Bankruptcy                              Attn: Bankruptcy                                 c/o Harbor Management Services, Inc.
Po Box 182125                                 Po Box 18125                                     POB 924176
Columbus, OH 43218-2125                       Columbus, OH 43218                               Homestead, FL 33092-4176


Country Walk Patio Homes Assoc.               Crane Financial Lendng                           Credit One Bank
c/o Harbor Management Services, Inc.          POB 477                                          Attn: Bankruptcy Department
POB 924176                                    Keshena, WI 54135-0477                           Po Box 98873
Homestead 33092-4176                                                                           Las Vegas, NV 89193-8873
                                  Case 23-13532-RAM      Doc 56-2          Filed 03/08/24   Page 2 of 4
(p)CREDIT FRESH                               Eagle Rock Funding                              (p)EVERGREEN SERVICES
200 CONTINENTAL DRIVE SUITE 401               1329 Eglin Street                               PO BOX 834
NEWARK DE 19713-4337                          Ste 200                                         LAC DU FLAMBEAU WI 54538-0834
                                              Rapid City, SD 57701-9632


Explore Credit                                Finwise                                         Finwise Rise
POB260269                                     POB 101808                                      Attention Bankruptcy
Atlanta, GA 30326                             Fort Worth, TX 76185-1808                       Po Box 679900
                                                                                              Dallas, TX 75267-9904


(p)FIRST NATIONAL BANK                        First Premier Bank                              (p)FIRST SAVINGS BANK
ATTN BANKRUPTCY                               Attn: Bankruptcy                                ATTN BANKRUPTCY
1500 S HIGHLINE AVE                           Po Box 5524                                     1500 S HIGHLINE AVE
SIOUX FALLS SD 57110-1003                     Sioux Falls, SD 57117-5524                      SIOUX FALLS SD 57110-1003


Flex Lending                                  Genesis FS Card Services                        Green Line Loan
901 W Yamato Rd STE 260                       Attn: Bankruptcy                                POB 294
Boca Raton, FL 33431-4415                     Po Box 4477                                     Lac Du Flambeau, WI 54538-0294
                                              Beaverton, OR 97076-4401


Internal Revenue Service                      Kia Motors Finance                              LendingClub
POB 7346                                      Attn: Bankruptcy                                Attn: Bankruptcy
Philadelphia, PA 19101-7346                   Po Box 20825                                    595 Market Street, Suite 200
                                              Fountain Valley, CA 92728-0825                  San Francisco, CA 94105-2802


(p)TOTAL LOAN SERVICES LLC                    Lendumo                                         (p)DSNB MACY S
ATTN JOHN LANGENDERFER                        POB 542                                         CITIBANK
205 SUGAR CAMP CIRCLE                         Lac Du Flambeau, WI 54538-0542                  1000 TECHNOLOGY DRIVE MS 777
DAYTON OH 45409-1970                                                                          O FALLON MO 63368-2222


Mariner Finance                               Mercury/FBT                                     Merrick Bank/CCHoldings
Attn: Bankruptcy                              Attn: Bankruptcy                                Attn: Bankruptcy
8211 Town Center Drive                        Po Box 84064                                    P.O. Box 9201
Nottingham, MD 21236-5904                     Columbus, GA 31908-4064                         Old Bethpage, NY 11804-9001


Merrick Garland                               (p)MISSION LANE LLC                             Monkey CC Flow
Attorney General of the United States         PO BOX 105286                                   1000 N West Street
99 Pennsylvania Ave NW                        ATLANTA GA 30348-5286                           Ste 1200
Room 4400                                                                                     Wilmington, DE 19801-1058
Washington, DC 20530-0001

Net credit                                    NetCredit                                       NetCredit
POB 206766                                    175 W Jackson Blvd                              Attn: Bankruptcy
Dallas, TX 75320-6766                         Suite 1000                                      175 W. Jackson Blvd, Ste 1000
                                              Chicago, IL 60604-2863                          Chicago, IL 60604-2863


NewRez LLC dba Shellpoint Mortgage Servi      Office of the US Trustee                        Post Lake Lending
P.O. Box 619063                               51 S.W. 1st Ave.                                POB 368
Dallas, TX 75261-9063                         Suite 1204                                      Crandon, WI 54520-0368
                                              Miami, FL 33130-1614
                                  Case 23-13532-RAM             Doc 56-2          Filed 03/08/24      Page 3 of 4
Prosper Funding LLC                                  Rise Credit                                          Shellpoint Mortgage Servicing
221 Main Street                                      Attn: Customer Support                               Attn: Bankruptcy
Suite 300                                            POB 101808                                           Po Box 10826
San Francisco, CA 94105-1909                         Fort Worth, TX 76185-1808                            Greenville, SC 29603-0826


Special Assistant United States Attorney             (p)BLUECHIP FINANCIAL D B A SPOTLOAN                 Sunup Financial LLC
Associates Area Counsel (SBSE)                       P O BOX 720                                          dba Balance Credit
1000 S. PIne Island Road                             BELCOURT ND 58316-0720                               POB 4356
Ste 300                                                                                                   Dept# 1557
Fort Lauderdale, FL 33324-3910                                                                            Houston, TX 77210-4356

Syncb/Rooms To Go                                    Synchrony Bank/Gap                                   Synchrony Bank/JCPenney
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Attn: Bankruptcy
Po Box 965060                                        Po Box 965060                                        Po Box 965060
Orlando, FL 32896-5060                               Orlando, FL 32896-5060                               Orlando, FL 32896-5060


Systems & Services Technologies                      Target Nb                                            The Loan Smith
Attn: Bankruptcy                                     C/O Financial & Retail Services                      621 Medicine Way
4315 Pickett Rd                                      Mailstop BT PO Box 9475                              Ste 2
Saint Joseph, MO 64503-1600                          Minneapolis, MN 55440-9475                           Ukiah, CA 95482-8136


(p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP        (p)UPGRADE INC                                       VBS ADvance Cash
ATTN ROBERT ZAYAC                                    2 N CENTRAL AVE                                      PO Box 10, Parshall
40 MARIETTA ST SUITE 300                             10TH FLOOR                                           Parshall, ND 58770-0010
ATLANTA GA 30303-2812                                PHOENIX AZ 85004-2322


Wells Fargo Bank NA                                  Xact                                                 Mitchell J. Nowack Esq.
1 Home Campus Mac X2303-01a                          PO Box 36124                                         8551 Sunrise Blvd #208
3rd Floor                                            Cincinnati, OH 45236-0124                            Plantation, FL 33322-4007
Des Moines, IA 50328-0001


Nancy K. Neidich                                     Ruben Dario Rivas
www.ch13miami.com                                    14928 SW 143 Place
POB 279806                                           Miami, FL 33186-5631
Miramar, FL 33027-9806




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bmw Financial Services                               Civil Process Clerk                                  CreditFresh
Attn: Bankruptcy/Correspondence                      Attorney General of the United States                Attn: Bankruptcy
Po Box 3608                                          Southern District of Florida                         200 Continental Drive, Suite 401
Dublin, OH 43016                                     99 NE 4th Street                                     Newark, DE 19713
                                                     Miami, FL 33132

Evergreen Services                                   First National Bank/Legacy                           First Savings Bank
POB 834                                              Attn: Bankruptcy                                     Attn: Bankruptcy
Lac Du Flambeau, WI 54538                            Po Box 5097                                          P.O. Box 5019
                                                     Sioux Falls, SD 57117                                Sioux Falls, SD 57117
                                Case 23-13532-RAM               Doc 56-2         Filed 03/08/24       Page 4 of 4
(d)Juan Antonio Gonzalez                             Lendly                                               Macys/fdsb
United States Attorney                               205 Sugar Camp Cir                                   Attn: Bankruptcy
Southern District of Florida                         Dayton, OH 45409                                     9111 Duke Boulevard
99 NE 4th Street Ste 300                                                                                  Mason, OH 45040
Miami, FL 33132

Mission Lane LLC                                     (d)Raychelle Tasher                                  Spot Loan
Attn: Bankruptcy                                     Assistant United States Attorney office              POB 720
P.O. Box 105286                                      Southern District of Florida                         Belcourt, ND 58316
Atlanta, GA 30348                                    99 NE 4th Street Ste 300
                                                     Miami, FL 33132

U.S. Department of Housing and Urban Develop         Upgrade, Inc.                                        (d)Upgrade, Inc.
40 Marietta Street                                   275 Battery Street 23rd Floor                        Attn: Bankruptcy
Atlanta, GA 30303                                    San Francisco, CA 94111                              275 Battery Street 23rd Floor
                                                                                                          San Francisco, CA 94111




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                             End of Label Matrix
                                                     Mailable recipients    79
                                                     Bypassed recipients     1
                                                     Total                  80
